    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 1 of 11



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

   State of Georgia, et al.,
                  Plaintiffs,
           v.
                                                         Case No. 2:15-cv-79-LGW-RSB
   Andrew Wheeler, et al.,
               Defendants.

 POST-HEARING BRIEF IN SUPPORT OF PLAINTIFF STATES’ MOTION
                 FOR SUMMARY JUDGMENT
       The Plaintiff States submit this brief in response to this Court’s invitation to address

issues that arose during the December 14 hearing. This brief addresses two points related to the

States’ contention that the Agencies violated the APA by failing to provide proper notice of the

2015 WOTUS Rule’s distance-based limitations for adjacent and case-by-case waters. For their

remaining contentions, the States rely on their prior briefing and their presentation at the

December 14 hearing.

       A.    The proposed rule failed to provide sufficient notice of the final rule’s distance-
             based limitations in two related ways.
       During the hearing, the Court correctly identified one clear basis for concluding that the

final rule is not a logical outgrowth of the proposed rule: the proposed rule failed to provide “any

range of distance[s]” the Agencies were considering as potential limits on the definitions of
“neighboring” waters and case-by-case waters. Hr’g Tr. at 51–52. The rule thus failed to fulfill

the Agencies’ obligation to “‘describe [in the proposed rule] the range of alternatives being

considered with reasonable specificity.’” Horsehead Res. Dev. Co. v. Browner, 16 F.3d 1246,

1268 (D.C. Cir. 1994) (quoting Small Refiner Lead Phase-Down Task Force v. U.S. E.P.A., 705

F.2d 506, 549 (D.C. Cir. 1983)). The APA imposes this “demanding” obligation to ensure that

interested parties can test the rule through targeted comments with the rigor necessary to ensure

informed agency decisions. Id. Without notice specific enough to apprise interested parties of
what potential alternatives the agency may be considering, those parties are left to “‘divine the


                                                  1
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 2 of 11




agency’s unspoken thoughts”” to determine what issues they need to address, and generally will

not be able to provide the targeted comments the agency needs to make an informed decision.

CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1080 (D.C. Cir. 2009) (quoting Int’l

Union, United Mine Workers of Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1259–60

(D.C. Cir. 2005)). The proposed rule here left interested parties in just that predicament by

failing to identify any range of distances under consideration as limits on neighboring and case-

by-case waters. See ECF No. 203 (States’ Mot. for Summary Judgment) at 20–22; ECF No. 222

(States’ Reply) at 15–17, 20–21.

       The comments responding to the proposed rule here bear out that problem. The

defendants pointed out various limited comments generally advocating for or opposing using

distance-based limits in the rule, and even a few that mention specific distances. Agencies’ Br. at

26–27. But none of these comments offer the kind of rigorous or targeted analysis of the specific

distance-based limits set out in the final rule—whether via maps, surveys, or other kinds of

data—that a proposal of specific distances or a potential range of distances would have

prompted. Cf. Horsehead Res. Dev. Co., 16 F.3d at 1268 (“It is the possibility of meaningful

participation that is lacking here, for while the EPA proposed individual elements of the Tier III

standard separately, the component parts were never collected together in such a fashion as to

enable the parties to anticipate and adequately comment on the ultimate Tier III standard.”). And
how could they? Interested parties, whether states or private parties, do not have unlimited

resources. Without notice that the Agencies were contemplating a range of particular distance-

based limits, those parties could not have been expected to devote the substantial resources

necessary to review an unlimited range of distances based on nothing more than a hunch that the

Agencies might adopt a certain kind or set of limits. Nor was it their burden to do so. The APA

makes it the agency’s job to direct interested parties to the alternatives they need tested via

public comment. The Court correctly highlighted the Agencies’ failure to do so here, see Hr’g Tr.

at 51–52; by failing to identify the range of distance-based limits they were considering for



                                                  2
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 3 of 11




neighboring and case-by-case waters, the Agencies failed to give notice sufficient to support the

limits they adopted in the final rule.

       It is worth emphasizing here, however, that the proposed rule was defective at an even

more fundamental level. The rule did not just fail to notify interested parties of the range of

distance-based limitations under consideration. The rule also failed, with one minor exception,

even to let interested parties know that the Agencies were considering a shift to distance-based

limitations on those waters at all.

       Take “neighboring” waters. The proposed rule defined those waters—a subset of

“adjacent” waters deemed categorically jurisdictional—based solely on functional or ecological

considerations: Neighboring waters were those within the “riparian area” or “floodplain” of a

primary water, impoundment, or tributary, or waters “with a shallow subsurface hydrologic

connection or confined surface hydrologic connection to such a jurisdictional water.” Definition

of ‘‘Waters of the United States’’ Under the Clean Water Act, 79 Fed. Reg. 22,188, 22,263 (Apr.

21, 2014) (Proposed Rule). None of these three identified limits on neighboring waters included

any kind of numeric, distance-based component. Id. More important, the proposed rule offered

not the slightest hint that the Agencies were considering building in numeric distance-based

limitations for “riparian areas” or “floodplains.” To even the most careful and interested reader,

the Agencies appeared to have settled on those functional limits, not fixed distances, “to define
the lateral reach of the term ‘neighboring.’” 79 Fed. Reg. at 22,207.

       As the defendants pointed out, the proposed rule did include several requests for

comments on whether the Agencies should establish “specific geographic limits” or “distance

limitations.” These requests do not save the rule from a notice-and-comment violation. In

addition to failing to identify any range of potential distance-based limitations with reasonable

specificity, see Horsehead Res. Dev. Co., 16 F.3d at 1268; Small Refiner, 705 F.2d at 549, these

mentions of distance-related terms failed to provide notice of the fundamental shift to a distance-

based regime because, without exception, the Agencies expressly cabined these requests to only
the third “hydrologic connections” subcategory of neighboring waters. That is, the Agencies

                                                  3
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 4 of 11




sought comment on potential “geographic limits” only as to waters outside the “floodplains” or

“riparian areas” that the proposed rule had defined seemingly conclusively without distance-

based limitations. See 79 Fed. Reg. 22,207–08 (“While the agencies’ best professional judgment

has always been a factor in determining whether a particular wetland is ‘adjacent’ under the

existing definition, the agencies recognize that this may result in some uncertainty as to whether

a particular water connected through confined surface or shallow subsurface hydrology is an

‘adjacent’ water. The agencies therefore request comment on whether there are other reasonable

options for providing clarity for jurisdiction over waters with these types of connections.”

(emphasis added)); id. at 22,208 (“Options could include establishing specific geographic limits

for using shallow subsurface or confined surface hydrological connections as a basis for

determining adjacency, including, for example, distance limitations based on ratios compared to

the bank-to-bank width of the water to which the water is adjacent.” (emphasis added)); id. at

22,209 (“The agencies seek comment on specific options for establishing additional precision in

the definition of “neighboring” through: explicit language in the definition that waters connected

by shallow subsurface hydrologic or confined surface hydrologic connections to an (a)(1)

through (a)(5) water must be geographically proximate to the adjacent water; circumstances

under which waters outside the floodplain or riparian zone are jurisdictional if they are

reasonably proximate; support for or against placing geographic limits on what waters outside
the floodplain or riparian zone are jurisdictional….” (emphasis added)). Such narrowly tailored

requests did not put interested parties on notice that the final rule would put the entire category

of “neighboring” waters—not just the subset of waters connected by certain hydrologic

connections—under a distance-based scheme. “If the APA's notice requirements mean anything,

they require that a reasonable commenter must be able to trust an agency's representations about

which particular aspects of its proposal are open for consideration.” Envtl. Integrity Project v.

E.P.A., 425 F.3d 992, 998 (D.C. Cir. 2005) (citing Fertilizer Inst. v. EPA, 935 F.2d 1303, 1312

(D.C.Cir.1991) (emphasis in original)). If anything, by expressly limiting their call for comments
on distance-based options to the narrow context of waters connected by certain hydrologic

                                                  4
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 5 of 11




connections, the Agencies confirmed that they were not considering or interested in distance-

based limitations for the rest of the proposed “neighboring waters,” which they defined using

functional terms alone.

       This fundamental notice defect is even more stark for case-by-case waters. The proposed

rule offered no limitation at all on which waters would be eligible for consideration on a case-by-

case basis; the rule included in that category all “other waters, including wetlands” if they had a

significant nexus to a primary water. 79 Fed. Reg. at 22,263. And the proposed rule offered no

indication at all that the Agencies were considering imposing anything like the final rule’s

specific distance-based or floodplain-based limitations for case-by-case waters, see Clean Water

Rule: Definition of “Waters of the United States,” 80 Fed. Reg. 37,054, 37,105 (Jun. 29, 2015).

The Agencies can point only to the phrase “sufficiently close,” which the proposed rule used a

few times in explaining the case-by-case category. But the proposed rule used that phrase only to

describe how the Agencies planned to decide whether particular “other waters” were “similarly

situated” to waters in the same region and thus could be aggregated for purposes of determining

if the waters had a significant nexus. 79 Fed. Reg. at 22,211 (“For purposes of analyzing whether

an ‘other water’ has a significant nexus, the agencies are proposing that ‘other waters’ are

similarly situated if they perform similar functions and they are either (1) located sufficiently

close together so that they can be evaluated as a single landscape unit with regard to their effect
on the chemical, physical, or biological integrity of a water identified in paragraphs (a)(1)

through (a)(3), or (2) located sufficiently close to a “water of the United States” for such an

evaluation of their effect.” (emphasis added)); id. at 22,213 (“The proposed regulation in the

definition of “significant nexus” at (c)(7) clarifies that other waters, including wetlands, are

similarly situated when they perform similar functions and are located sufficiently close together

or sufficiently close to a `water of the United States' so that they can be evaluated as a single

landscape unit.” (emphasis added)); id. (“Similarly situated waters may be identified as

sufficiently close together for purposes of this paragraph of the proposed regulation when they
are within a contiguous area of land with relatively homogeneous soils, vegetation and landform

                                                  5
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 6 of 11




(e.g., plain, mountain, valley, etc.).” (emphasis added)). Put simply, this phrase had nothing at all

to do with setting distance-based limitations on the category of case-by-case waters. And indeed,

although the proposed rule asked specifically for public comment on “alternative approaches” for

determining the jurisdictional status of “other waters,” not one of those alternatives included or

indicated interest in any kind of distance-based or even floodplain-based limitation, see 79 Fed.

Reg. at 22,215.

       The point is that the proposed rule failed to provide adequate notice on two related levels.

It failed to identify a range of potential distance-based limitations the Agencies were considering

for “neighboring” and case-by-case waters, as the Court noted at the hearing. And the proposed

rule failed at a basic level to provide notice that the Agencies were considering a shift to a

fundamentally different regime for defining these waters—from an approach centered around

functional or descriptive limits for neighboring waters (“riparian areas,” “floodplains”) and no

limits for case-by-case waters, to a scheme built around numeric, distance-based limitations.

Together, these failings prevented interested parties from playing the critical role in the rule

making process that the APA contemplates, and they require vacatur of the rule. Allina Health

Servs. v. Sebelius, 746 F.3d 1102, 1110 (D.C. Cir. 2014) (“[D]eficient notice is a ‘fundamental

flaw’ that almost always requires vacatur.” (quoting Heartland Reg'l Med. Ctr. v. Sebelius, 566

F.3d 193, 199 (D.C.Cir.2009)).

       B.    Alabama Power does not support the Agencies’ position on logical outgrowth.
       The Agencies contended at the hearing that Alabama Power v. OSHA, 89 F.3d 740 (11th

Cir. 1996), supports their position that the final rule’s distance-based limitations were a logical

outgrowth of the final rule. Hr’g Tr. 54–55. It does not.

       The Agencies described Alabama Power as a case that is “on all fours” with this one, id.,

apparently on the view that the case shows that OSHA was able to establish a specific numeric

criterion—a fabric weight—in a final standard without previewing it in the draft standard, ECF
No. 219 (Agencies’ Resp.) at 27–28. That is not a plausible reading of Alabama Power.


                                                  6
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 7 of 11




       In that case, OSHA had proposed as part of a standard for regulating electric utilities a

“prohibition of any clothing fabrics that would substantially increase the severity of an

employee's injury from arcing electrical equipment.” Ala. Power, 89 F.3d at 743. OSHA then

issued a final standard along the same lines. See id. (quoting final standard providing that “[t]he

employer shall ensure that each employee who is exposed to the hazards of flames or electric

arcs does not wear clothing that, when exposed to flames or electric arcs, could increase the

extent of injury that would be sustained by the employee”). And in the preamble to the final

standard, OSHA indicated that natural fabrics like cotton and wool were acceptable. Id. But that

seemingly blanket permission to use natural fabrics was a mistake: OSHA had based the apparel

provision “predominantly” on a power company’s videotape that had reported on tests performed

on various clothing materials, and that video had shown that under very specific conditions—“an

3800-ampere, approximately 12-inch arc which was 12 inches from the fabric and lasted for 10

cycles”—that cotton fabrics “of less than 11 ounces” would not meet the final standard. Id. at

744 n.3. So to conform its preamble to the video evidence, OSHA issued a “correction”

explaining that “[n]atural fabrics, such as 100 percent cotton or wool, are acceptable under the

final rule, provided they are of such weight and construction as not to ignite under the conditions

to which an employee might be exposed.” Id. at 743. Then, in a parenthetical, OSHA explained:

“(For example, cotton fabrics of 11 ounces or [more] generally will not ignite when exposed to
an arc the energy of which is approximated by a 3800-ampere, 12-inch arc lasting for 10

cycles….).” Id. at 743. OSHA maintained, however, that “the employer has discretion to

determine whether or not 100 percent cotton or wool clothing is acceptable under the conditions

to which a worker could be exposed.” Id. at 745.

       Thus, Alabama Power does not come close to the kind of drastic shift from proposal to

final rule that occurred with the 2015 WOTUS Rule. In Alabama Power, both before and after

the “correction,” the standard required fabrics appropriate for the flame and electric arc

conditions to which an employee could be exposed. The correction merely added one “example”
of a nonconforming fabric, derived from the video evidence on which the standard was based,

                                                 7
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 8 of 11




which happened to include a numeric weight in it. Id. at 743. The Eleventh Circuit thus

concluded that “commenting on certain weights of natural fabric … and clarification that under

certain conditions, heavyweight natural fabrics are necessary” for full protection did not require

further notice and comment. Id. at 745. By contrast, the final WOTUS Rule added specific and

categorical distance-based limitations that were entirely new and fundamentally different from

the proposed rule’s purely functional approach (e.g., “riparian areas,” “floodplains,” waters with

“confined surface” or “shallow subsurface” hydrological connection). And the final rule included

those new limits as part of the to-be-codified WOTUS definition itself, not as a parenthetical

example demonstrating how to apply the standard. Alabama Power does not support making

such a fundamental shift from proposed to final rule without notice.

                                        CONCLUSION
       For the reasons above and those set out in the Plaintiff States’ prior briefing, this Court

should promptly grant their motion for summary judgment and vacate the 2015 WOTUS Rule.

       Respectfully submitted.

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                                                 8
Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 9 of 11




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                                             9
Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 10 of 11




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                                          10
    Case 2:15-cv-00079-LGW-BWC Document 239 Filed 12/24/18 Page 11 of 11



                              CERTIFICATE OF SERVICE
       I hereby certify that on December 24, 2018, I served this motion by electronically filing it

with this Court’s ECF system, which constitutes service on all attorneys who have appeared in

this case and are registered to use the ECF system.



                                                      /s/ Andrew A. Pinson
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                                                11
